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                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      FEB 14 2018
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 VICTOR R. DEL LLANO,                          No. 18-55189
 individually and on behalf of others
 similarly situated,
                                               D.C. No. 3:17-cv-01429-AJB-MDD
               Plaintiff - Appellant,          U.S. District Court for Southern
                                               California, San Diego
   v.
                                               TIME SCHEDULE ORDER
 VIVINT SOLAR, INC.; SOLAR
 MOSAIC, INC.,

               Defendants - Appellees.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

 Wed., February 21, 2018       Mediation Questionnaire due. If your registration for
                               Appellate ECF is confirmed after this date, the
                               Mediation Questionnaire is due within one day of
                               receiving the email from PACER confirming your
                               registration.
 Thu., March 15, 2018          Transcript shall be ordered.
 Mon., April 16, 2018          Transcript shall be filed by court reporter.
 Thu., May 24, 2018            Appellant's opening brief and excerpts of record
                               shall be served and filed pursuant to FRAP 32 and
                               9th Cir. R. 32-1.
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 Mon., June 25, 2018        Appellee's answering brief and excerpts of record
                            shall be served and filed pursuant to FRAP 32 and
                            9th Cir. R. 32-1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R. 32-1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT

                                            By: Janne Nicole Millare Rivera
                                            Deputy Clerk
                                            Ninth Circuit Rule 27-7
